        Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 1 of 8




                                                  UNITED STATES DISTRICT COURT
                                                  EASTERN DISTRICT OF LOUISIANA

            InRe:            Oil Spill by the Oil Rig                       ]                MDLNo.2179
                             "Deepwater Horizon" in the                     ]
                             Gulf of Mexico, on April 20, 2010              ]                SECTION: J
                                                                            ]
                                                                            ]                Judge Barbier
            This Document Relates to: 2: 12-cv-1045-CJB-JCW                 ]                Mag. Judge Wilkinson
                                                                            J
                                        SWORN DECLARATION OF ALFREDO VALENTINE

                        Pursuant to 28 U. S. C. § 1746 Alfredo Valentine declares the following:

                        1.           "My name is Alfredo Valentine.     The facts contained in this declaration are within

            my personal knowledge and are true and correct.

                        2.           I worked for O'Brien's   Response Management,         Inc. (O'Brien's)    from June 23,

            2010 to the second week in January, 2011. O'Brien's                 initially assigned me to work in Pensacola,

            Florida and I later worked in Biloxi, Mississippi and Orange Beach, Alabama.                      My duties were

            to assist O'Brien's           in tracking crews, equipment and supplies used in the cleanup response to

            BP's Deepwater Horizon oil spill in April 2010.

                    3.               I supervised cleanup of onshore and near-shore sites from Mississippi to Florida.

        It was my job to direct personnel, inventory all items, track where they were deployed, track

        when they returned to the decontamination                facility, and track when they were returned to staging

        for redeployment or demobilization.

                    4.               When I worked in the decontamination       yard, my duties included tracking

        equipment returning from deployment and generating reports detailing where booms and

        skimmers were deployed, when they were returned and decontaminated.

                    5.           My last position with O'Brien's      was Operations Manager. I supervised a

        mechanical beach cleanup crew in Orange Beach, Alabama. It was my job to fill out daily



                                                                      -1-




                                                                                                                        Ex. 12
M_.   "_.           ,        ...~,                                                                                               _
Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 2 of 8




reports and keep a crew count. I also attended daily meetings to explain what we picked up or

deployed each day and the equipment and personnel we needed.

        6.      O'Brien's treated me as an independent contractor from the beginning of my

employment until January 1,2011, when O'Brien's reclassified me as an employee.

        7.      Many other workers worked for O'Brien's         performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

"Spill Workers."

        8.      Throughout my employment with O'Brien's, O'Brien's established my and the

other Spill Workers' compensation, set our schedules, and directed our work on a daily basis.

                                            Hours Worked

        9.      During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

        lO.     The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O'Brien's. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

        11.     Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from August 30,

2010 to September 5, 2010. I worked over twelve hours each of these days. See Exhibit 1.

                                              Pay

        12.     When O'Brien's hired me and the other Spill Workers, we signed "Teaming

Agreements" that state we would be paid by the day. My agreement with O'Brien's states I

would be paid "$500 per day." A true and correct copy of the agreement I signed with O'Brien's

is attached as Exhibit 2.




                                              -2-
Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 3 of 8




            13.    Throughout my employment with O'Brien's, I was paid $500 per day. This

 amount did not increase if I worked more than my scheduled hours.

        14.        O'Brien's did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O'Brien's classified us as independent

contractors.

                                                Control

        15.       O'Brien's had the authority to hire and fire me and other Spill Workers. I know

this because an O'Brien's employee, hired me over the phone. Just before reporting to work in

Pensacola, another O'Brien's employee sent me O'Brien's hiring documents and employment

policies.

        16.       When I was hired, my supervisor, Peter Benson, who was also employed by

O'Brien's, told me how to do my job.

        17.       O'Brien's supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory daily meetings with Benson.

In these meetings, Benson gave me and other Spill Workers instructions regarding our daily

tasks and job performance. When there were problems in staging, deployment or

decontamination, I went to Benson for help.

        18.       Benson required me to produce daily reports detailing what was cleaned,

equipment and personnel used, work quality, and the oil, tar and sand removed. O'Brien's used

these reports to monitor our work and plan our assignments for the next day.

       19.        O'Brien's directed the information I was to track and how I was to report it.

O'Brien's also provided instruction on how to fill out the report forms I completed. When my




                                                  -3-
Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 4 of 8




 forms were not filled out properly, or there was some other problem with my work, Benson

 required me to make corrections according to his instructions.

         20.      O'Brien's   required me and the other Spill Workers to scan our electronic badges

 in and out upon each entry and departure from work sites and boats. These badges said

 "O'Brien's"   on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

         21.     O'Brien's    required me and the other Spill Workers to obtain approval for time off.

I initially worked months with no time off. Later I would request a week off every thirty days. I

made these requests to Benson in Pensacola who approved them.

        22.      O'Brien's    required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.      O'Brien's    required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.      O'Brien's    set my and other Spill Workers' working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.      The Spill Workers and I were not allowed to hire employees to help us with our

work.




                                                   -4-
Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 5 of 8




           26.       O'Brien's     prohibited me and the other Spill Workers from working with any other

 oil spill contractor while we were employed by O'Brien's             and for one year after our

 employment.        See Exhibit 2.

           27.       Around January 1,2011, a woman from HR met with us. She explained

 O'Brien's       was going to make us employees.       From that point on, O'Brien's    classified me as an

 employee.

           28.       Just before I was let go, or "demobilized,"     Benson told me that I was to report to

demobilization.       In demobilization,     my O'Brien's     electronic access badge was deactivated.    After

being demobilized, I returned home because I no longer had work or lodging in Orange Beach.

                                                    Investment

           29.      The other Spill Workers and I made little or no investment in working for

O'Brien's.       For example, O'Brien's provided us with the equipment we used, including laptop

computers, hard hats, safety vests, safety glasses, shirts and hats. O'Brien's          typically reimbursed

us for travel expenses and mileage. O'Brien's           also provided facilities, including offices and

lodging.

                                            Special Skill or Expertise

        30.         O'Brien's     did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O'Brien's          before I was hired and I received only some hazardous material training

after being hired. I found out about employment with O'Brien's              through my now ex-wife.

Based on her recommendation,            I contacted O'Brien's.    An employee of O'Brien's    called me, and

after a short phone interview, offered me a job with O'Brien's.            Less than a week later, I was in

Pensacola receiving instructions from Benson.




                                                        -5-
Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 6 of 8




         31.      The other Spill Workers and I did not receive significant official or formal

 training to perform our jobs. Instead, we learned how to perform our duties on the job. For

 example, I learned on the job how to fill out report forms and what information I was required to

 track about the cleanup equipment.

                                     Interest in a Collective Action

        32.       Based on my experience working with O'Brien's        and my communications     with

 other Spill Workers, I know other spill workers are interested in joining a collective action to

 recover their unpaid overtime. In fact, some of the Spill Workers I spoke to have since joined

this collective action. Furthermore, every Spill Worker with whom I have discussed this case

has expressed a desire to join.

        33.       I declare under penalty ofpeIjury that the foregoing is true and correct.'"


Signed on July!     2 ,2012.




                                                   -6-
   Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 7 of 8



                                                                      BP
                                                                   RESPONSE
                                                                   TIME SHEET
Name: Strategic Service Solutions, LLC                   Billing Period: 8/30/10 – 9/5/10

Paykey Code: ZKRAUMD252                                  Response: Deepwater Horizon

    Date       Start        End     Total                        Location/Activity
               Time         Time    Hours

   9/6/10       6a     6p          12       Travel from Pensacola to Biloxi Site
   9/7/10       6a     6p          12       Performed managerial Duties at Biloxi site
   9/8/10       6a     6p          12       Performed managerial Duties at Biloxi site
   9/9/10       6a     6p          12       Performed managerial Duties at Biloxi site
  9/10/10       6a     6p          12       Performed managerial Duties at Biloxi site
  9/11/10       6a     6p          12       Performed managerial Duties at Biloxi site
  9/12/10       6a     6p          12       Performed managerial Duties at Biloxi site




                                            ,




                                                                       Date: 9/5/10
Signature:

                                                                                         EXHIBIT 1
EXHIBIT 2
     600(: q~lB]i\J
                                 0I0c1 cc:C'/ '1                    :Am~dUlO:)
                                . A~JBd .l:::ll[W :::ll[l Ol :::l')!l0U U:::lnpM .lOpd           SABP 09 lSB:::lllB l[l!M lU:::lUT:::l:::l.lEysP·Il :::llBU!U!.I:::llABUI
           Al,lBd .I:::lljl!3. 'SUO!lBJ!]!IBnO            JO lU:::lUT:::llBlSS,.lOPB.1luO:)            'fiU!U!BlU!BUT .1oJ p:::lp:::l:::lUUO!lBUI.IOJU!Jo                 p:::ls!lddB
                    AUBdUlO:)        d:::l:::l~I\!M .lOPB.llUO:)       '.I:::lp.lO POOE]O        :::l~BS :::ll[l.lO,d     ·.1:::ll[W:::lljl]o :::l:::lAo[dUT:::l
                                                                                                                                                              UB Al,IBd .1:::ll[l!:::l
           :::l~BUllOU S:::l0P OS[B H 'Al!lU:::l sS:::lu!snq               IBUl.IO]]O         :::ldAl.l;)l[lO AUB.lO 'd!L[S.1:::lU:).lBd':::l.mlU:::lAlU!O!B               0l APBd
     .I:::lL[l!:::l
                 PU!q ~OU S;)OP                                                                                       EU!nu!luo:)
                                          n 'UO!lBU! UI.l:::lll:::lS OU L[l!M lU:::lUll!UlUlO:) (U:::l:::l.lE.1:::li\;:})                               B S! W:::lUl:::l:::l.1'fiV
                                                                                                                                                                                 S!l[~
                                    ·.1:::ll]B:::l.1:::lljllB:::lA
                                                                 :::lUO]O pop:::ld B .10] pUB W:::lUl:::l:::l.l'fiB
                                                                                                                  S!ljl]O           UU;')l ;')l[l.lO]     SlU;,)![J S,AUBdUTO:)
     Ol AUBdUTO:) Aq P:::lp!AO.ld lBL[l Ol.IB\!UT!S A[[B!lUBlsqns                                S:::l:)!A.l:::lSIpS .10 l!:)![OS 0llOU            S;):::l.l:aBOSIB ·1OPB.llUO:)
          'S:::l!l!l!q!SUOdS:::l1 S,.lOPRllUO:)]O              lU;,)UT[[!][n]     UBljl.l:::lljlO :::lsod.md       AUB 10] p:::lSn :::lq lOU ABUI pUB lU:::lUl:::l:::l.lEy
                S!l[l]0     UO!lBU!UI.I:::ll :::ll[l pUOA:::lq SlB:::lA ;)A!] lSB:::l[ lB .10] :::l:)U:::lpgUO:) P!.IlS               U! PI:::ll[ :::lq \l!M lU:::lUl:::l:::l.l:aB
                                                                                                                                                                                 S!l[l
    Aq P;,)l;,)AOJ ~.I0M [[B 1iI01J Sl[nS;,)llBl.[l                  U0!lBUI.I0JU!       [B!lU;')pgUOJ         pUB A.lBl;,)!ldOld            AUB lBljl S;')(U'fiB .rOlJB.llUO:)
                                                                           'S;,):::lAOldUT:::lS~!]O S~!PU;')q pUB S:::l!lBIBS 'S;,)EBM [[B 10] :::llq1suods;').1
                8q [[!M .IOpRqUO:)               'S88AOldUl8        Sl! .10] 8:)UB.InSU! UOqBSU8dUlO:)                      S.l8:>[.I0M 8P!AO.ld         !T!M .IOPH-qUO:)         pUB
     lU;')!P ;')l[l Aq p;,).I!nb;').1 SB :::l:)UB.InSU! A1!I!qB![ [B.18U:::lB:::lP!AO.ld [I!M AUBdUTO:)                                'W;')![J    ;')l[1 UTO.l] S8SU8dx;')       pUB
     S;');')jjO ld!:::lJ:::l.1uodn       .10PB.1WO:)       Ol :::llnqplS!p       pUB lU;')!P      :::lljl 0l :aU!ll!q      [[B ;')p!AO.1d TJ!M AUBdUTO:)                's;')su;')dx;')
          IIC .10] Sld !;,):);,)l :::lpnpu!      Tl!M pUB UO!l;')ldUTO:) p8!o.ld]0                  SABP 0 I U!l[l!M AUBduIO:)                    :::l:)!OAU! l\!M .IOpB11UO:)
                    ':::lJ!lOU U8H!.IM SABP Ot uodn                 AllBnuuB       P;,)EUBl[:) ;')q ABUI S:::llB(I 's:::lsu;')dx:::l l:::l~Jod]o                1no :~[qBUOSB:::ll
             snld     sasuods;u         .I0J ABP .I;')d     OO'OO~ $ la/pUB              's;')su;')dx;')   l;')~:)od-JO-1no         8IqBUOSB;,).1 snTd          ~u!Hnsuo;J .10]
     ABP/.In0l[        .18d    a~u $]0              :::llB.lB 1B :::lq II!M lU:::lUl8:::l.l:ay S!l[l]O        l-IBd SB p8.1:::lpU:::l.lS:::l:)!A.l:::lS.10] UO!lBl:::lUnUl:::l(l
                                                                   ';)[qB\!BAB     lOU S! .I0pRqUO:)]!                  'S:::l:)!A.I:::lS.l0] lS:::lnb;').1 S,AUBdUlO:)       :::lSn]:::ll
  ABUI .lOl:)B.llUO:)          lBljl SPUBlS.I:::lpUn AUBdUlO:)               pUB S:::l:)!A.l;,)SS,.lO~:)B.llUO:) lS:::lnb;').l Ol P;')lBE!Tqo                 lOU s1 AUBdUTO:)
  lBl[l     SPUB1S.I:::lpUn .I0pRqUO:)                 ·S8!l.lBd     L[loq    Aq ol      P88.1:aB AIIBnlnUi               SB S8:)!A.I:::lS :aumnsuo:)             .lBI!U1!S .l:::lljlO
  pUll S8S!:).lgXg          BU!llll!IPlll10/PUll           U! BU!llldp!l-lBd           'S8S.InOCl BU!U!RIl BU!lClnpUOCl 'SlU8Ag                         AClU:::l:al:::lUl;)P81Cl;)T;)S
  lB suo!l!sod            Ul8lSAS     PUBUIUIO:)       lU8P!ClUlJO         :aUg]BlS     '01 P:::ll!UI!llOU        8.1B wq        ';)pn[Ju!     S;)Cl1A.l8S L[ClnS ·P:::lp!Ao.ld
  U!:::l.l:::lL[SU0!l!PUO:)         pUB SUI.I:::ll :::lljl .l:::lpun 'AUBdUTO:)           :::ll[1 l,loddns      01 S:::l:::l.l:aB.lOPB.llUO:)           pUB 'S:::l:)!A.l:::lS:::lS:::ll[l
  :aU!p!AO.ld         U! AUBdUlO:)         lS!SSB 0l .IOPB.llUO:)            8Z!\!ln    01 S8L[S!M AUBdUlO:)                 'slU:::l!I:) S~! 0l S:::lCl!A.l;)S1U:::lUl:::l:aBUBW
  :::lSUOdS;:ll pUB ss;mp:::l.md:::l.Id             AJU;,)'fi.l;,)UT;,) 'fiU!p!AO.ld     ]0      ss;')u!snq     ;')ql     U! p;')'fiBEU;,) A!lBd!JU!.ld            S! AUBdUlO:)
                                                                                                                                                                          'SMOTlOJ
                Sll ;);).I:aB pUB lUBU;)AOCl 'punoq                A[[BB:::ll ;)q 0l :aU!PU;)lU! 'S8!PBd                 dL[l 'lUOlJd.T;)l[       PdA!.I;)P Sl~PUdq         Tlln1nlU
          ;,)l.[lJO uoqB.l;')P!SUOJ         UI    ·(.I01JB.l1UO:)     SB 01 p;').I.I;,)Pl)       ;:}U!lU;:}!BA OP;,).IJ!Y            pUB '(AUBdUTO:)            SB A[;:}A!lJ;:}llOJ
                    01 P;).T.T8J:::l.l)(W(ls,U:::l!.IH,O)          ·;JUI   lualU<J~cucW asuodsaH s,u<J!.Ig,O U:::l:::lMl;)q s1 lU;)lUd8.T'fiy                                    S!l[l
                                                           J..N3:W3:3:lIDV 9NIWV3:J..
                                                         J..N'lIW'lI9VNVW 'lISNOdS'lIll
  Case 2:10-md-02179-CJB-DPC Document 6930-12 Filed 07/18/12 Page 8 of 8
